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  5   Attorneys for Plaintiff
      JAMES RUTHERFORD
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  7
                            UNITED STATES DISTRICT COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA
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 10
           JAMES RUTHERFORD, an             Case No.: 8:20-cv-01308-JLS-DFM
 11        individual,
 12                                         Hon. Josephine L. Staton
           Plaintiff,
 13                                         NOTICE OF VOLUNTARY
 14        v.                               DISMISSAL WITH PREJUDICE
                                            PURSUANT TO FEDERAL RULE OF
 15        STATION LAND                     CIVIL PROCEDURE 41(a)(1)(A)(i)
 16        INVESTORS, LLC, a
           California limited liability     Complaint Filed: July 21, 2020
 17        company; and DOES 1-10,          Trial Date: None
 18        inclusive,

 19        Defendants.
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                        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Case 8:20-cv-01308-JLS-DFM Document 16 Filed 09/18/20 Page 2 of 2 Page ID #:64

  1         TO THE COURT AND ALL PARTIES:
  2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
  3   Plaintiff James Rutherford (“Plaintiff”) requests that this Court enter a dismissal
  4   with prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety.
  5   Each party shall bear his or its own costs and attorneys’ expenses.
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  7                                          Respectfully submitted,
  8
  9    DATED : September 18, 2020            MANNING LAW, APC

 10                                          By: /s/ Joseph R. Manning, Jr.
                                               Joseph R. Manning, Jr.
 11
                                               Attorney for Plaintiff
 12                                            James Rutherford
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                     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
